Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 1 of 15




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-03496-WJM-MEH

   Email on Acid, LLC,

                    Plaintiff,

   v.

   250ok, Inc., and Validity, Inc.,

                    Defendants.


                           DEFENDANT VALIDITY, INC.’S ANSWER TO
                              PLAINTIFF EMAIL ON ACID, LLC’S
                                FIRST AMENDED COMPLAINT


             Defendant Validity, Inc. (“Validity”), by and through its undersigned counsel, hereby

   answers the First Amended Complaint (“Amended Complaint”) of plaintiff Email on Acid, LLC

   (“Plaintiff”). Any allegation not expressly admitted is denied. All responses herein are based on

   information known to Validity as of the date hereof, and Validity reserves the right to supplement

   or amend its responses based on new information.

                                           INTRODUCTION1

             1.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in the first and second sentences of Paragraph 1 of the Amended Complaint, and




        1
         The Amended Complaint contains numerous headings and subheadings that are not part of a
   numbered paragraph and do not constitute allegations of fact, and therefore require no response.
   To the extent that a response is deemed required, Validity denies any and all allegations contained
   in the headings and subheadings of the Amended Complaint.
   4832-0906-4145
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 2 of 15




   therefore denies the same. Validity denies the remaining allegations in Paragraph 1 of the

   Amended Complaint.

                                              PARTIES

          2.      Validity admits the allegations in Paragraph 2 of the Amended Complaint, upon

   information and belief.

          3.      The allegations contained in Paragraph 3 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity.

          4.      Validity admits that it is a corporation organized under the laws of the State of

   Delaware and that it maintains its principal place of business at 200 Clarendon Street, Floor 22,

   Boston, Massachusetts 02116-5021. Validity further admits that it is registered to do business in

   the State of Colorado and that it maintains an office at 8001 Arista Place, Suite 300, Broomfield,

   Colorado, 80021. Validity denies the remaining allegations in Paragraph 4 of the Amended

   Complaint.

                                   JURISDICTION AND VENUE

          5.      Paragraph 5 of the Amended Complaint contains legal conclusions to which no

   response is required.

          6.      Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations contained in Paragraph 6 of the Amended Complaint because Validity was not a

   party to any action filed by Plaintiff in Colorado State Court and was not a party to the contract

   referenced and quoted in Paragraph 6 of the Amended Complaint, which contract speaks for itself.

          7.      Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations contained in Paragraph 7 of the Amended Complaint because Validity was not a

                                                   2
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 3 of 15




   party to this action at the time that it was removed to this Court. The remaining allegations of

   Paragraph 7 of the Amended Complaint are legal conclusions to which no response is required.

   To the extent that a response is deemed required, Validity denies the allegations in Paragraph 7 of

   the Amended Complaint.

          8.      Paragraph 8 of the Amended Complaint contains legal conclusions to which no

   response is required. To the extent that a response is deemed required, Validity denies the

   allegations in Paragraph 8 of the Amended Complaint.

                                    FACTUAL ALLEGATIONS

          9.      Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 9 of the Amended Complaint, and therefore denies the same.

          10.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 10 of the Amended Complaint, and therefore denies the same.

          11.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 11 of the Amended Complaint, and therefore denies the same.

          12.     Validity admits the allegations in Paragraph 12 of the Amended Complaint.

          13.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 13 of the Amended Complaint, and therefore denies the same.

          14.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 14 of the Amended Complaint, and therefore denies the same.

          15.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 15 of the Amended Complaint, and therefore denies the same.



                                                   3
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 4 of 15




          16.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 16 of the Amended Complaint, and therefore denies the same.

          17.     Paragraph 17 of the Amended Complaint contains legal conclusions to which no

   response is required. To the extent that a response is deemed required, Validity lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations in Paragraph 17 of the

   Amended Complaint, and therefore denies the same.

          18.     Paragraph 18 of the Amended Complaint contains legal conclusions to which no

   response is required. To the extent that a response is deemed required, Validity lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations in Paragraph 18 of the

   Amended Complaint, and therefore denies the same.

          19.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 19 of the Amended Complaint, and therefore denies the same.

          20.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 20 of the Amended Complaint, and therefore denies the same.

          21.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 21 of the Amended Complaint, and therefore denies the same.

          22.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 22 of the Amended Complaint, and therefore denies the same.

          23.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 23 of the Amended Complaint, and therefore denies the same.

          24.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 24 of the Amended Complaint, and therefore denies the same.

                                                    4
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 5 of 15




          25.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 25 of the Amended Complaint, and therefore denies the same.

          26.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 26 of the Amended Complaint, and therefore denies the same.

          27.     Paragraph 27 of the Amended Complaint contains legal conclusions to which no

   response is required. To the extent that a response is deemed required, Validity lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations in Paragraph 27 of the

   Amended Complaint, and therefore denies the same.

          28.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 28 of the Amended Complaint, and therefore denies the same.

          29.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 29 of the Amended Complaint, and therefore denies the same.

          30.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 30 of the Amended Complaint, and therefore denies the same.

          31.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 31 of the Amended Complaint, and therefore denies the same.

          32.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 32 of the Amended Complaint, and therefore denies the same.

          33.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 33 of the Amended Complaint, and therefore denies the same.

          34.     Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 34 of the Amended Complaint, and therefore denies the same.

                                                    5
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 6 of 15




          35.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 35 of the Amended Complaint, and therefore denies the same.

          36.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 36 of the Amended Complaint, and therefore denies the same.

          37.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 37 of the Amended Complaint, and therefore denies the same.

          38.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 38 of the Amended Complaint, and therefore denies the same.

          39.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 39 of the Amended Complaint, and therefore denies the same.

          40.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 40 of the Amended Complaint, and therefore denies the same.

          41.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 41 of the Amended Complaint, and therefore denies the same.

          42.    Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in the first sentence of Paragraph 42 of the Amended Complaint, and therefore

   denies the same. Validity admits that it acquired 250ok, Inc. (“250ok”), in March 2020, and that

   some former employees of 250ok were hired by Validity.           Validity denies the remaining

   allegations in Paragraph 42 of the Amended Complaint.

          43.    Validity admits that 250ok disclosed to Validity the fact and subject matter of the

   instant litigation during negotiations regarding Validity’s acquisition of 250ok, but denies the

   remaining allegations in Paragraph 43 of the Amended Complaint.

                                                  6
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 7 of 15




             44.   Validity denies the allegations in Paragraph 44 of the Amended Complaint.

                                   FIRST CLAIM FOR RELIEF
                                  Breach of Contract against 250ok
                                 (Breach of the License Agreement)

             45.   Validity incorporates its answers to Paragraphs 1–44 above as if fully set forth

   herein.

             46.   The allegations contained in Paragraph 46 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 46 of the Amended Complaint, and therefore denies the same.

             47.   The allegations contained in Paragraph 47 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 47 of the Amended Complaint, and therefore denies the same.

             48.   The allegations contained in Paragraph 48 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 48 of the Amended Complaint, and therefore denies the same.

             49.   The allegations contained in Paragraph 49 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 49 of the Amended Complaint, and therefore denies the same.



                                                   7
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 8 of 15




          50.     The allegations contained in Paragraph 50 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 50 of the Amended Complaint, and therefore denies the same.

          51.     The allegations contained in Paragraph 51 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 51 of the Amended Complaint, and therefore denies the same.

          52.     The allegations contained in Paragraph 52 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 52 of the Amended Complaint, and therefore denies the same.

          53.     The allegations contained in Paragraph 53 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 53 of the Amended Complaint, and therefore denies the same.

          54.     The allegations contained in Paragraph 54 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 54 of the Amended Complaint, and therefore denies the same.

          55.     The allegations contained in Paragraph 55 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

                                                   8
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 9 of 15




   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 55 of the Amended Complaint, and therefore denies the same.

          56.     The allegations contained in Paragraph 56 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 56 of the Amended Complaint, and therefore denies the same.

          57.     The allegations contained in Paragraph 57 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 57 of the Amended Complaint, and therefore denies the same.

          58.     The allegations contained in Paragraph 58 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 58 of the Amended Complaint, and therefore denies the same.

          59.     The allegations contained in Paragraph 59 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 59 of the Amended Complaint, and therefore denies the same.

          60.     The allegations contained in Paragraph 60 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 60 of the Amended Complaint, and therefore denies the same.

                                                   9
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 10 of 15




                                     SECOND CLAIM FOR RELIEF
                                 Unjust Enrichment of 250ok and Validity
                   (Brought against 250ok in the Alternative to the First Claim for Relief)

             61.      Validity incorporates its answers to Paragraphs 1–60 above as if fully set forth

   herein.

             62.      The allegations contained in Paragraph 62 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 62 of the Amended Complaint, and therefore denies the same.

             63.      The allegations contained in Paragraph 63 of the Amended Complaint are directed

   to another defendant and therefore require no response from Validity. To the extent that a response

   is deemed required, Validity lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 63 of the Amended Complaint, and therefore denies the same.

             64.      Validity denies the allegations in Paragraph 64 of the Amended Complaint.

             65.      Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in the second sentence of Paragraph 65 of the Amended Complaint, and therefore

   denies the same. Validity admits that it previously acquired Return Path, Inc., which developed

   and sold a platform providing email deliverability and optimization services, and denies the

   remaining allegations in Paragraph 65 of the Amended Complaint.

             66.      Validity admits that Plaintiff seeks equitable relief. Validity denies the remaining

   allegations in Paragraph 66 of the Amended Complaint.




                                                       10
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 11 of 15




                                   THIRD CLAIM FOR RELIEF
                       Misappropriation of Trade Secret by 250ok and Validity
             (Violation of Colorado Uniform Trade Secrets Act, C.R.S. § 7-74-101 et seq.)

             67.   Validity incorporates its answers to Paragraphs 1–66 above as if fully set forth

   herein.

             68.   Validity denies the allegations in Paragraph 68 of the Amended Complaint.

             69.   Validity denies the allegations in Paragraph 69 of the Amended Complaint.

             70.   Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 70 of the Amended Complaint, and therefore denies the same.

             71.   Validity lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations in Paragraph 71 of the Amended Complaint, and therefore denies the same.

             72.   Validity denies the allegations in Paragraph 72 of the Amended Complaint.

             73.   Validity denies the allegations in Paragraph 73 of the Amended Complaint.

             74.   The allegations in Paragraph 74 are directed to another defendant and therefore do

   not require a response from Validity. To the extent that a response is deemed required, Validity

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

   Paragraph 74 of the Amended Complaint, and therefore denies the same.

             75.   Validity admits that 250ok disclosed to Validity the fact and subject matter of this

   lawsuit before Validity’s acquisition of 250ok in March 2020 but denies the remaining allegations

   in Paragraph 75 of the Amended Complaint.

             76.   Validity denies the allegations in Paragraph 76 of the Amended Complaint.




                                                    11
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 12 of 15




                                         PRAYER FOR RELIEF

           Validity denies that Plaintiff is entitled to any relief in this case, including all damages and

   relief identified in the WHEREFORE paragraphs of the Amended Complaint.

                                           GENERAL DENIAL

           Validity denies all allegations of the Amended Complaint, including any allegation in the

   prayer for relief, not specifically admitted herein.

                                             JURY DEMAND

           Pursuant to Rule 28 of the Federal Rules of Civil Procedure, Validity demands a trial by

   jury on all issues so triable raised by the pleadings in this action.

                                                DEFENSES

           Validity sets forth the following defenses. Validity does not hereby assume the burden of

   proof with respect to those matters as to which, pursuant to law, Plaintiff bears the burden. Validity

   reserves the right to assert additional defenses to Plaintiff’s claims as further investigation and

   discovery warrant.

           1.      Plaintiff has failed, in whole or in part, to state a claim upon which relief may be

   granted.

           2.      Plaintiff’s claims are not based on trade secrets subject to the protection of the

   Colorado Uniform Trade Secrets Act, C.R.S. § 7-74-101 et seq.

           3.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.

           4.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

           5.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

           6.      Plaintiff’s claims are barred, in whole or in part, because the alleged damages and

                                                     12
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 13 of 15




   losses, if any, were not caused by Validity.

          7.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to mitigate

   its alleged damages, if any.

          8.      To the extent that Plaintiff’s claims against Validity are based in whole or in part

   on any right or obligation arising under the License Agreement described in the Amended

   Complaint, Validity was not a party to the License Agreement and has not assumed any obligations

   arising thereunder.

          9.      To the extent that Plaintiff’s claims against Validity are based in whole or in part

   on any right or obligation arising under the License Agreement described in the Amended

   Complaint, Plaintiff’s claims are barred or otherwise released under the terms of the License

   Agreement.

          10.     To the extent that Plaintiff’s claims against Validity are based in whole or in part

   on any right or obligation arising under the License Agreement described in the Amended

   Complaint, the License Agreement is unenforceable, in whole or in part, on the ground or to the

   extent that it unreasonably restricts competition or restrains trade.

          Respectfully submitted this 12th day of April, 2021.



                                         [Signature page follows.]




                                                     13
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 14 of 15




                                            VALIDITY, INC.,

                                            By its attorneys,

                                             s/ Matthew T. McLaughlin
                                            Matthew T. McLaughlin
                                            Kacey Houston Walker
                                            NIXON PEABODY LLP
                                            Exchange Place
                                            53 State Street
                                            Boston, MA 02109-2835
                                            Tel: (617) 345-1000
                                            Fax: (617) 345-1300
                                            Email: mmclaughlin@nixonpeabody.com
                                                     kwalker@nixonpeabody.com

                                            Kenzo S. Kawanabe
                                            Emily L. Wasserman
                                            DAVIS GRAHAM & STUBBS LLP
                                            1550 17th Street, Suite 500
                                            Denver, CO 80202
                                            Tel: 303-892-9400
                                            Fax: 303-893-1379
                                            Email: kenzo.kawanabe@dgslaw.com
                                                    emily.wasserman@dgslaw.com

                                                 Attorneys for Defendant Validity, Inc.




                                       14
Case 1:19-cv-03496-WJM-MEH Document 96 Filed 04/12/21 USDC Colorado Page 15 of 15




                               CERTIFICATE OF SERVICE

          I hereby certify that on this 12th day of April, 2021, the foregoing DEFENDANT

   VALIDITY, INC.’S ANSWER TO PLAINTIFF EMAIL ON ACID, LLC’S FIRST

   AMENDED COMPLAINT was filed and served via CM/ECF on the following:

   Zachary C. Garthe
   Reid J. Allred
   CAMBRIDGE LAW LLC
   4610 S. Ulster St., Suite 150
   Denver, CO 80237
   zac@cambridgelawcolorado.com
   reid@cambridgelawcolorado.com

   Attorneys for Plaintiff

                                             s/ Matthew T. McLaughlin
                                             Matthew T. McLaughlin




                                            15
